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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA

PAMELA K. WRUCKE,                                )
                                                 )
          Plaintiff,                             )
                                                 )
v.                                               )      Civil Action No. 1:19-cv-1982
                                                 )
MARRIOTT INTERNATIONAL, INC.                     )
                                                 )
          Defendants.                            )

          NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1446 DIVERSITY

          Please take notice that the Defendant, Marriott International, Inc. (“Defendant”), hereby

removes to this Court the state court action described herein.

     I.       Background.

     1. On April 9, 2019, an action was commenced in the Marion County Superior Court, in

Marion County, Indiana, entitled Pamela K. Wrucke v. Marriott International, Inc., Cause No.

49D04-1904-CT-014327 (the “State Court Action”). A copy of the Plaintiff’s Complaint and Jury

Demand is attached hereto as Exhibit A.

     2. Defendant was served with the State Court Action on April 19, 2019. (Exhibit B). Defendant

entered an appearance of counsel and obtained a motion for enlargement of time to June 11, 2019,

2019 to plead. (Exhibit C).

          3. In her Complaint, the Plaintiff brought a negligence action based upon a theory of

premises liability.

          4. This action is a civil action of which this Court has original jurisdiction under 28 U.S.C.

§ 1332 and is one which may be removed to this Court by Defendant pursuant to the provisions of

28 U.S.C. § 1332(a) and 28 U.S.C. § 1441 in that it is a civil action between citizens of different

states, and the matter in controversy exceeds the sum of $75,000.00 exclusive of interests and

costs.
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    5. Defendant is removing this case within the 30-day period stipulated by the rules.

    6. All pleadings, process, orders, and all other filings in the state court action are attached to

this notice as required by 28 U.S.C. § 1446(a). (Exhibit D).

    7. In accordance with 28 U.S.C. § 1441(a), this matter is being removed to the U.S. District

Court for the Southern District of Indiana because this Court is the Court for the district and

division embracing the place where such action is pending, i.e., Marion County, Indiana.

    8. Defendant will promptly file a copy of this notice of removal with the clerk of the state

court in which the action is pending.


    II. There is a complete diversity of citizenship between the Plaintiff and the Defendants.

    9. The Federal Rules provide that a defendant may remove any civil action filed in the state

court where there is complete diversity of citizenship between the defendants and the plaintiff. 28

U.S.C. § 1441(a) and (b).

    10. Complete diversity exists here because none of the defendants have the same state of

citizenship as the Plaintiff.

    11. The Plaintiff, Pamela K. Wrucke, is a citizen of Indiana.

    12. The Defendant, Marriott International, Inc., a Delaware corporation with a principal place

of business in Bethesda, Maryland.


    III.    The amount in controversy is in excess of $75,000.

    13. Plaintiff’s Complaint does not state an amount in controversy. In such cases, “unless the

recovery of an amount exceeding the jurisdictional minimum is legally impossible, the case

belongs in federal court.” Grinnel Mut. Reinsurance Co. v. Haight, 697 F.3d 582, 585 (7th Cir.

2012) (quoting Back Doctors Ltd v. Metro Prop. & Cas. Ins. Cp., 637 F.3d 827, 830 (7th Cir.

2011) (citing St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 293 (1938)). The analysis

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is what the plaintiff is claiming, not whether the plaintiff is likely to recover everything she seeks.

Id.

      15. Plaintiff’s attorney has been asked by counsel for the Defendant to stipulate that the

amount in controversy is less than $75,000. In response, Plaintiff’s counsel refused to do so.

(Exhibit E). Therefore, the amount in controversy exceeds the $75,000 threshold.


                                               Respectfully submitted,


                                                 /s/ Brett T. Clayton__________________
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2019, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system, which will provide notice to the following via the Court’s
Electronic Filing System and that notice of this filing will be provided to all counsel of record via
the Court’s Electronic Filing System to:

Brandon W. Smith
MORGAN & MORGAN
611 East Spring Street
New Albany, IN 47150

                                                /s/ Brett T. Clayton__________________
                                               Brett T. Clayton (#27062-49)
                                               REMINGER CO., L.P.A.




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